

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-31,579-02






EX PARTE MICHAEL ANGELO WHATLEY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2007-0000071M-CR-A IN THE 97TH JUDICIAL DISTRICT COURT


FROM MONTAGUE COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty to possession of a
firearm by a felon, and was sentenced to ten years' imprisonment.  He did not appeal his conviction.

	Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because
counsel failed to advise Applicant of the intent required to support a conviction for possession of a
firearm by a felon.  Applicant alleges that he did not know that the firearm was in the vehicle that
he stole while evading arrest.  He alleges that counsel failed to advise him that the charge required
that he knowingly or intentionally possessed the firearm.  Applicant alleges that his plea was not
knowingly and voluntarily entered. 

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall first supplement the habeas record with copies of the plea documents,
including the admonishments, waivers, and stipulations signed by Applicant, as well as any written
plea agreement.  The trial court shall make findings of fact as to whether counsel advised Applicant
of the elements of the offense of possession of a firearm by a felon, and if so, whether there was
evidence introduced to support each element of the offense.  The trial court shall make findings as
to whether counsel advised Applicant to plead guilty in exchange for the maximum sentence for the
offense charged, and if so, why.  The trial court shall make findings as to whether Applicant was
properly advised of the nature of the charges, the applicable punishment range, the rights he was
waiving, and the consequences of the plea.  The trial court shall make findings as to whether the
performance of Applicant's trial attorney was deficient and, if so, whether counsel's deficient
performance prejudiced Applicant.  The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 



Filed: February 11, 2009

Do not publish


